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                          EXHIBITj          \
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                            .PATRICK J. SHEEHAN, M.D.
                               7350 VAN DUSEN ROAD
                                      SUITE 240
                            LAURELt MARYLAND 20707
                        Phone: 301-776-5753 - Fax: 301-317-9410




Richard J. Link, Esquire
Goodwin Weber PLLC
267 Kentlands Boulevard; Suite 250
Gaithersburg, MD 20878


Re:            Deceased D.C. Police Officer Jeffrey L. Smith
D/1: •         January 6, 2021
DOB:           April 15, 1985


Dear Mr. Link:

               At your request, I have prepared a forensic medical report addressing the

issues that led up to and caused the death of Officer Jeffrey L. Smith.



                 Ptior to this report, I reviewed the records of PFC Associates LLC,

Pamela Oriafo and Dr. Olusolo Maiomo, Jiji Ninan, Goodwin Weber PLLC;

Richard J. Link; Esq., the Government of the District of Columbia Metropolitan Police

Department, Commonwealth of Virginia Department of Health, Dr. Jocelyn Posthumus.



                 Prior to this report, I conducted interviews with Metropolitan

Police Officer Matthew Givens [by phone], friends of Officer Smith, Andrew Hass {by

phone], Antje Farmer (by phone], Officer Smith~s widow, Erin Smith [in person]> and

Officer Smith~s parents, Wendy Smith [in person], and Richard Smith [by phone].
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                Prior to this report, I reviewed an article from The Washington Post~ dated

June 21~ 2021, titled '4]\Tew law named.for Raskin son expands crisis call center."
                                                  ts




REVIE\V OF RECOROS:

                In the January 14~ 2021 !t note fron1 PFC Associates LLC [Police & Fire

Clinic], signed by Pamela Orialfo and Dr. Olusolo Malomo, under cc; ~'f/u neck/' Under

History of Present Illness: '435 yo MPD male here for f/u after an injury to his neck on

the. day of the protest in the Capital (sic). Member states he had twisted his neck when an

object hit his fac (sic) shidd. States feeling ~vell today, denies any headache or neck

pain. No dizziness, fever, chills, changes in vision. N/V or unsteady gait.'' His blood

pressure, temperatme~ and pulse were taken. Under Review of Systems: "See HPI/'

Under Impression & Recommendations: ~~Problem l: Neck pain, right .. Duty Status ...

Discharge instructions discussed. You made (sic) ice Wann compl'ess to affected area

15-20 minutes 3-4 times for (sic) day. Continue to take Morin (sic) PRN for pain. RTC

for any other concerns." A physical exam was done, results were detailed on Page 2.

[Dr. Shcchan's Note: It is worth noting that no one asked him about his mental health,

if he had any suicidal or homicidal thoughts. He had been injured in the January 6, 2021

rioting~ experienced emotional, physical trauma, but was not questioned about suicidal or

homicidal ideation.]
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                In the January 6, 2021 note from PFC Associates LLC [Police & Fire

Clinic]; signed by Jiji Ninan and Dr. Olusolo Malotno~ under cc: "rm 8 new inJury c/o

Neck Pain.~' Under History of Present Illness: "On duty injury as he was controlling the

protesters today. He jarred his neck when an object hit his face shield. Pain is localized
           -                         -                          -                            -
in his RT side of the neck and is aggravated by neck flexion .. _,, Under Problems Adqed:

"1) Dx of Neck pain~ right. .. ~) Under Impression & Recommendations: "Problem# 1:

Neck pain, right. .. Likely neck starin (sic) without any radiculopathy. MSK pain. No

radicular symptoms. Ibuprofen 600mg PO Q6hrs with food for pain. Ice application

with a clothe (sic) covered ice pack for 48 hrs and then moist heat. Avoid activities

which aggravate the pain. Seek medical care immediately if you develop sudden loss of

sensation in the Rt am1, or fever or chills or shortness of breath or any unusual symptoms~

worsening pain or incontinence of urine or stool or any weakness of the arms or leg or

fever or chills or shortness of breath (sic). SL. RTC on Monday or fu/u and DS

assessm.ent."' Under Physical Exam: '" ... Psych: alert and cooperative; normal mood and

affect; normal attention span and concentration.'' [Dr. Sheehan 1 s Note: Again, there

were no questions asked about whether he had suicidal or homicidal thoughts.]



                Reviev~1ed other records from PFC Associates LLC (Police & Fire Clinic]

of nomm] annual physical examinations. There was nothing in the records I reviewed

that indicated he was treated for depression or had a diagnosis of depression.
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                       In the May 29, 2021 letter from Goodwin Weber PLLC, signed by

Richard J. Link, Page 1, Paragraph 2: i, ••• Jeffrey Smith was a D.C. Police Officer.

011 January 6, 2021 while in the perfom1a11ce of his duties as a police officer during the


Capitol Insun-ection; Officer Smith was attacked ... he was struck in the face shield by

flying meta.I objects ... Officer Smith took his own fife nine (9) days later- 011 January 15,

2021-while he was driving to work on the GW Parkway ... " On Page 2, Paragraph 3:

··According to Ms. Smith, her husband was in good physical and mental health before

January 6~ 2021. He had no priOi' hlstory of depression, PTSD or mental health

problems, .. Ms. Smith believes that the horrific events of January 6th (including the

assault) was the Hpersonal injury'~ that caused her husband~s death: i.e., his mental state

detedorated to the point where he was despondent, and totally lacked the mental capacity

to form an intention to harm himself:~,



                       111 the January 26, 2021 report entitled: Capito} Complex Security Failures

on January 6; 2021 > Testimony of Robert .L Contee, III, Acting Chief of Police~ from the

Government of the District of Columbia Metropolitan Police Department to the United

States House of Representatives Committee on Appropriations, Page 1, Paragraph 1:

H •••   I am Robert l Contee, III, the Acting Chief of Police of the Metropolitan Police

Depa11ment of the District of Columbia .. .I will relate to you the facts as we know them at

this time, based on the point of view of MPD and the government of the District of

Columbia ... Page l, Paragraph 3: " ... the Department was folly deployed on 12.. bour
                'il'
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 shifts prior to January 6th , with no officers on day . . off or leave ... the U.S. Capitol Police

 (USCP) had 1·esponsibility of the Capitol, including both the building and grounds ...

 more than 300 members of the D.C. National Guard were deployed on District streets

 providing traffic control and othet services to allow MPD to support the First
                -                                                         -
 Amendment assembly and continue to provide services to our neighborhoods ... ,,

 Page 2, Paragraph 1: HHowever, these resources were barely enough to counter an

 event that had never happened in the history of the United States: a mob of thousands

 launching a violent assault on the U.S. Capitol - the seat of our government - in an

 attempt to halt the counting of electoral ballots, an essential step in the peaceful transfer

 of power in our nation ... H Page 2, Paragraph 3: ~40ur members arrived at a chaotic

 scene. The violent mob overran protective measures at the Capitol in an attempted

 insurrection, prior to MPD officers arrival to the \vest front. By 1;50 p.m., MPD had

 declared the assembly to be a riot. Upon a1Tivat, the MPD platoons immediately began

 working to achieve our objectives... " Page 2; Paragraph 4: ~'At 2:22 p.m., a call was

 convened with, among others, myself: leadetship of the Capitol Po.lice~ the D.C. National

 Guard, and the Department of the Army. Twas stunned at the tepid response from

 Department of the Army~ which was reluctant to send the D.C. National Guatd to the

 Capitol ... '-"- the factors cited by the staff on the caJI - these issues become secondary

 when you are watching your employees, vastly outnumbered by a mob~ being physically

 assaulted. I was able to quickly deploy my force and issue directives to them while they

 were in the field, and I was honestly shocked that the National Guard could not - or
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 would not - do the same ... The Anny staff responded that they were not refusing to send

 them, but wanted to know the plan and did not like the optics of boots on the ground at

 the Capitol." Page 3~ Paragraph 1: "[n the meantime~ by 2~30 p.m. the District had

 requested additional officers from as far away as New Jersey and issued notice of an
   -                         -
 emergency citywide curfew beginning at 6 p.m .... all riotets ,.vere removed from the

 Capitol. Ninety minutes later~ at 8 p.m.~ Congress was able to resume ... n Page 3,

 Paragraph 2~ H ••• MPD's police officers were engaged in a literal battle for hours. Many

 were forced into hand--to-hand combat to prevent more rioters from gaining entry into the

 Capitol. .. H Page 3~ Paragraph 3: "Those seven hours, between the urgent call for help

 from the Capitol Police to MPD and the resumption of work by both houses of Congress,

 will be indelibly etched on the memories of every law enforcement officer who was on

 the scene! as it is undoubtedly in the minds of the elected officials; congressional staff;

 and other Capitol employees ... During the height of the incident, approximately 850 MPD

 members were at the capitol~ and by the day's end, an additional estimate of 250 had been

 in the area to directly support the response and aaennath. MPD's estimate for the week

 of the insurrection is approximately $8.8 million ... MPD, Capitol Police, the Federal

 Bmeau of Investigation, and the Office of the U.S. Attorney for the District of Columbia

 will be engaged for years in the investigation and prosecution of the insurgents~., H Page

 3 to 4, Paragraph 4 and 1, respectively: "Five peopJe lost their lives on January 6th -

 Capito] Police Officer Brian Sicknick and four others. And tragically, two officers who

 were at the Capitol on January 611 \ one each from the capitol Police and MPD, took their
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own lives in the aften11ath of that battle. We honor the service and sacrifices of Officers

Brian Sicknick~ Howard Liebengood) and Jeffery (sic) Smith and offer condolences to all

the grieving families, .. Many more sustained injuries from the assault - scratches,

bruises, eyes burning from bear mace - that they did not even bother to report ... shocked
                -                         -                          -
and moved by the video of. .. and Officer Daniel Fiodges in agony as he was crushed

between a dam· and a riot shield ... "



                In the January 6, 2021 Injuiy or mness Report from the Metropolitan

Police Department; under Nature of Injury/Illness: "Pain to neck." Under Cause~ "Hit

with flyjng object in face shield of helmet.H Under Statement of Facts: "I was outside of

the US Capitol and people started throwing metal objects around 5:35 pm. Some kind of

object hit me in the face shield. Began feeling pain in n1y neck and face."



                In the January 19, 2021 Certificate of Death, from the Commonwealth of

Virginia Department of Health-Division of Vital Records Commonwealth of Virginia,

under Describe How Injury Relating to Death Occurred: '"Shot self with a handgun/~

Under Signature of Medical Examiner: L~/S/ Jocelyn Sutton Posthumus.H



                In the January 16, 2021 Report of Autopsy from the Office of the Chief

Medica1 Examiner, signed by Dr. Jocelyn Posthumus, under Evidence ofinjury:

{.\ .. Gunshot wound ... gunshot entrance wound vvith a 1/16"~1/8" rime of soot and a
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pattem abrasion at the 3 o'clock to 5 o'clock edge comprised of a 9/16" semicircular

abrasion with a 3/16" in diameter central abrasion ... The bullet creates a hemorrhagic

wound path through the skin and subcutaneous soft tissues ... ,~ Under Pathological

Diagnoses: " ... Perforating Gunshot Wound to the Head: Entrance right temple. Exit
    -                          -                        -                          -
above left ear, shored. No prQjectile or fragments recovered, Missile path through

cerebral hemispheres including deep gray nuclei. Direction leftward. Skull and facial

bone fractures, Associated injuries: Hemoaspitation:- Periorbitat, subgaleal~ periosteal

and intracranial hemorrhages.H Under Cause of death: "Gunshot Wound to the Head."

Under Manner of death~ 4~Suicide." [Dr. Sbeehan's Note: The rest of the report

describes the details of the autopsy.)



PAST HISTORY:

                Officer Smith came from a two parent home. He was one of three

children. He grew up in North Brook, Illinois. His parents are still married. He went to

Northern 1llinois University, got a Sociology Degtee.



                On July 9, 202t I interviewed individually Mrs. Erin Smith. She is the

36 year old widow of Officer Jeffrey Smith. She met her husband in 2015. They married

in February 2019. "January 6th was supposed to be a calm Trump Rally. ft was

supposed to be pro police.'~ People from the rally were trying to get into the U.S. Capitol

building. The Capitol Police called the Metropolitan Police for reinforcement. Officer
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Smith~s unit was sent to the Capitol. ~'He didn't know the Capitol building. He was

going into an unfamiliar place. He didn't know the layout of the Capitol. The last tin1e

he was in the Capitol was when he was 10 years old.'; While his unit was in the building)

it came over the radio that shots were fired. Officers did not know who was shooting or

if they were walking into gunfire. They didn't know if it \>-.1as rioters or police that were

shooting. ~'He didn't know if he was going to get out alive." During the riot, she texted

him, was concerned ifhe was okay. ,1.lt was complete chaos. He te:xtcd me back saying it

was crazy, it was the craziest thing he'd ever been a part of. I didn't hear from him until

8 p.m. I was texting him. He said, something happened, don't worry; I'm at the clinic.

[Police & Fire Clinic in D.C.f' When he came home~ he explait1ed more of what

happened. He said he had been punched in the face~ hit in the head with a metal pole. He

told his Sergeant he was hit when it happened, nothing was done. The mayor otdered a

curfew. His unit was sent to guard a hotel in D.C. with orders to not let anyone in or out

at the hotel. While outside the hotel\ he was concemed residents of the hotel would

throw objects down on them. "The people were not pro police." He put his heltnet on to

protect hitnself while standing in the street. His Sergeant ordered them to take their

helmets off. He told his Sergeant he had already been hit in the head and was not going

to be hit in the head agai11. [This was a different Sergeant from the one he reported his

injury to.] The Sergeant asked him about him being injured. She was crying while

discussing this. The Sergeant sent him to the police clinic. At the clinic> he was

mistakenly given someone else's prescription. He was then sent home. He was seen in a
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follow up appointment on January 14~ 2021. ''No one from the clinic checked on him

until he returned [on January 14, 2021 ]." When he was seen in the clinic on January 14,

202 l , he was seen for about "10 minutes. H He was sent back to work, returned 10 work

the following day, January 15, 2021, ''he shot himself in the head. He said he was in a lot

of pain in his neck. There were changes. He be.came extremely quiet. He didn't \Vant to

walk the dog or go anywhere. He became short tempered.t~ There was no talk of suicide.

After the January 6, 2021 incident~ his mood changed, "He didn't want to talk about

anything. He didn't want to do anything. He was eating very little. He had problems

sleeping. Pd wake up in the middle of the night and he was pacing in the hallway inside

of the house. He'd tell me to go back to sleep, not to worry. When I woke up, he was

awake." She was crying while discussing this. Before the January 6, 2021 incident, they

would do things together. After- the January 6, 202 l incident; ' he didn't want to go to the
                                                                 4




grocery store or walk the dog. l 'd try and talk to him~ but it was like he wasn ~t there. He

wasn't listening. He~d get angry with me.H l-Ie had never been angry with her before,

He got frustrated but never angry. He became very frritable. "He didn't want to talk

about it. He couldn't believe it happened [the riot]." She thought possibly he did not

want to talk to her about the riot because he was concerned she would ,vorry. A few

nights when she woke up~ he was in bed crying. '--He it1temalized things. He said it was

the worst day of his life [January 6, 2021]. He said~ you train all the time but it's

different when you experience it. rd never seen him that way before. He was extremely

even tempered. He was very calm about everything.'' She knew he was not right.          i..r   did
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ask. I tried to comfort him. I don't know whether he wrecked his car and then shot

himself." She does not k11ow the timeHne of the events. Prior to the January 6, 2021

incide.nt, he called his parents daily. After January 6, 2021, he stopped calling them

daily. He was released back to full duty 011 January 15, 202 l. '1.He was the type of guy
                     -                          -
that put everyone's safety first.'~ He worked 12 l /2 years for the Metropolitan Police

Department. He did not want to take the Sergeant's Exam because he was concerned

that he would be sent to Southeast D.C. He worked in Northwest D.C.~ the Georgetown

area. FollO\ving the January 6, 2021 incident, "if I talked to him, his mind was someplace

else. H She was crying while discussing this. Before the January 6, 2021 incident, they

were very close. They worked together on their house, took walks with the dog. "He

was very close to the dog. It was his dog. It ,~.,as so unlike him to not want to ,valk the

dog. He had been so close to the dog.'' Prior to January 6, 2021, she never saw him as a

depressed person. ''He was a low key person." After his death, she received a call from

the Metropolitan Chief of Police stating that he was sorry for her Joss. The Chief gave a

Deposition shortly after the riot. In his Deposition, he said the deaths of her husband and

other officers were related to the January 6, 2021, incident.



                 On July 9, 2021, I interviewed individually by telephone, Metropolitan

Police Officer Matthew Given. He is 3 l years oJd. He knew Officer Smith for nine

years. He was not aware of Mr. Smith being depressed. HHe never discussed suicide."

Officer Given did not talk to Officer Smith after January 6~ 2021. He last saw him two
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days before January 6) 2021. 44 When I found out it was a suicide, I never expected it

from hiiu. l-Ie was ahvays joking and being goofy. I never saw him as angry. When it

first came on the radio, I thought he died in a motor vehicle accident. I never saw hirn do

that. He was my first partner. Pd never seen him depressed. He was not the type to take

his life/'



                On July 9, 2021~ I interviewed individually by telephone) Mr. Andrew

Hass. He is 36 years old. He had known Officer Smith since the 9th grade, when they

were 14-15 years old. They ,;vere close friends. "He'd never been depressed.~, A good

friend of theirs committed suicide h1 2012. HJeff said, he couldn't understand how

anyone could take thefr life." Mr. Hass spoke to Officer Smith on January 7th or 8th

[was uncertain of the exact date]. "He sourtded diffetent. A Httle down. He was quiet.

He seemed tired, He said (about January 6~ 2021 ~] people were crazy, he couldn't believe

that people would act that way. He was hit in the head by an 01l1ect. He told me he had

pain in his neck. His voice was slow. He wasn;t as talkative as usual.,; They had

multiple conversations about their friend ,vho hanged himself in 2012. "He said~ I don ~t

believe he killed himse]f. I still can't believe it. There were no signs. He was11~t that

kind of person. n



                On .July 9, 2021, I interviewed individually by telephone, Ms. Antjer

Farmer. She is 43 years old. She had known Officer Smith since 2013. They would take
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their dogs to the dog park together, would see him at his home. She never saw him as

sad. He was "very even keeled. He wasn't someone who was easily riled/} She saw him

go through different stages of life, his first man'iage) getting married, his fonner

girlfriends. HHe always saw things in perspective ..;; On January 8, 2021, she texted him.

''l asked him if he was- hanging in there, He always responded to texts. He texted back

he was alright. I asked more questions. He said> it was crazy. We were literally in the

halls of the Capitol pushing people out. It was like a movie/' He sent her a picture of

him in riot gear. Under the picture he said, "it's really crazy.'' He said his neck \Vas hurt.

They texted for a few days. "I said, it's scary with guns involved. He said, yeah, that's

the issue, you don~t know at the time how to act. At the time I thought someon_e was

shooting people in the building. I said~ I' 11 bet your adrenaline was so high. He said, it

was crazy.'~



                On July 9, 2021; I interviewed individually by telephone, Mr. Richard

Smith, the 68 year old father of Of:ftcer Smith. Mr. Smith is 68 years old. He had the

phone on speaker. His \.Vifo was in the room. There is no history of his son ever being

depressed. ~-He used to talk to us. He knew the public was not happy with the police.

He was concerned walking into a restaurant, getting food. He didn't know if they knew

he \Vas a police officer. He carried his lunch so he woutdn 't have to go into a restaurant.

I talked to him most days." Officer Smith~s mother was in the hospital on January 15)

2021. HThe doctor came in. He [Officer Smith] wanted to hear what the doctor had to
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say about his mother. It was a short conversation." Afterward~ he told his parents he had

been hurtt had gone to the clinic. He told them he had been off a week. HHe wasn't

offered mental health services. He was on his own. He didn't want to be a police officer

anymore [following the incident on January 6, 2021 ]. He was looking at other options.

He said the riot was crazy., they were outnumbered by the crowd."



                 I reviewed the June 22, 2021 article from The Washington Post; titled,

"New law named/or Raskin 's son expands crisis call center. H There is a new law, the

Thomas Bloom Raskin Act, named for the son of Maryland Congressman, Jamie B.

Raskin, whose son committed suicide while at Harvard Law School. The law expands

the State's Crisis Call Center. From the June 22, 2021 article: H . . . Raskin's son died on

Dec 31 after a tong fight ,1.,1ith depression, telling his family in a note~ "P)ease forgive me.

My illness won today.'>



                 With a reasonable degree of medical probability., the proximate cause of

his depression \Vas the trauma that he experie11ced while working as a Metropolitan

Police Officer on January 6, 2021.



                 With a reasonable degre~ of medical _probability, there is no evidence in

the records or from the peop]e I interviewed who ,vete close to him~ that he was ever
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 depressed or had mental health problems prio:r to January 6, 2021. He was seen as '{even

 keeled" and "not easily riled.~~



                 With a reasonable degree of medical probability~ the proximate cause of

 his death was due to depression. He did not kill himself; the illness killed him. He had

 discussed with his friend, Andrew Hass$ a mutual friend who committed suicide in 2012,

 stating to Mr. Hass that he did not believe that someone could kill themself.



                 Mr. Link, i11 your correspondence dated May 29~ 2021, you asked the

 following questions:



                "1) What is the causal nexus (if any) between the events of January 6,

 2021 and Officer's (sic) Smith's death on January 15, 2021 (i.e. what injury did he suffer

 on January 6~ 2021 )?"



                Response: With a reasonable degree of medical probability, the

 proximate cause of his depression was the trauma that he experienced on January 6, 2021.



                ''2) Whether, as a result of any mental disease or defect, Officer Smith's

 (sic) lacked substantial capacity to form an intention to cause his own death?''
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                 Response: With a reasonable degree of medical ptobability, due to mental

illness, depression) he lacked the substantial capacity to fonn an. intention to cause his

own death. Depression killed him.



                 If I can be of any further assistance, please feel free to contact me.



Patrick J. Sheel 1, M.D.
Certified in Ps ,chiatry by the
American Bo ,.d of Psychiatry
and Neurology

PJS:bc
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                            . PATRICK,J, SHEEHANtM.D,
                                7350 VAN DUSEN ROAD
                                         SUlTE2,40
                             LAUREL, MARYLAND 20707
                        Phon.e: 301-776 ..5753 .. Fa:u 301 . .317-.9410


Mal'ch 8, 2022


Richard 'J. Lh1k, Esquil'e
Goodwi11 Weber PLLC
267 Kentlands Boulevard, S1.1ite 250
Gaithersburg; MD 20878


Re:              Deceased.D-G. PQlfoe Officer ,Tt¢:ffrey L. S:mith
D/I:             January 6, 2021
DOB:             Ap•·il 15, 1985.


Dear Mr. Link:

                 On Februru:y 18) 2022, I ,interviewed individually Mrs. Eri11 Smith, the

widow of Officer Jeffrey Sn,dth. She gave hist01-y that her husband ;returned from work

followu1g the riots at the U.S. Capitol armmd 2 a.111. 011 January 7, 2021. 0 H.e said he lost

cansciol.lSlless, that he was hit by a me.ta! pipe and did11't 1010w where he was.'' He
                                                  "
complained to her of visio11 ptoble11,1s. HHe said his vision was fuzzy,'' She does not

1·emember him complaining of balance problems. '4He had a bad headache," He
complained of having a bad headache throughout the nine days before committing
suicide, ~'He wasn't a person who complai11ed. He ·couldt1't foctis/t Whe11 she spoke to
                                 I                •




him~ Hit was like he was 1ist~11i11g but was11't tecognizing what was being said.'' Ho
b~came very irl'itable. If she aske4 him to do SOlnething a11d he did net do it, he would
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D/I: ,January 6, 2021


tell her he did not- xeinembet her asking him, to do it. He developed problems with sleep,

"He was very sensitive to noise. He had to tum off the television.'' He be~ame sensitive
to light, particularly to bdght lights. HHe)d turn the lights off and sit in the bedroom in

the <lade 1, He was easily distracted. "He'd be discussing one thing and go off into

so1nethiilg different. It was like he was all ove1· the place." He had angry outbursts. "It

wasn't like him. He was very short." He would. have a110~1tburst if she asked him

som,ething. He began spending a lot of time 011 his cell pho11e, ~lie said he couldn't

focus, pay attention. His eyes would go bla11k.'~



                   The symptoms described by Ms. Erin Smith are consistent with Post

Concussion Syndxome~ A co11ci1ssio11 is a type of traumatic brait1 h~ury caused by a

bump, blow, or jolt to the head ot by a hit to the body that causes a bi-ain to move 1·apidly

back and forth in the skull. An a11alogy is that a bl·ai11 is like jello in a clear plastic

container. When the1'e is rapid movement back and forth, lines ill the jello develop.

When an impact occurs to .a pe1'son' s skull, the bl'ain tnoves rapidly forward a11d

backwatd in the skulL Post Concussio11 Syndrome is the symptoms following a

co11c1..1ssion,.



                   With a reasonable degree of rnedical pt'obability, Officex Jeffrey Smith,

following his head it1juties 011 January 6, 2021, developed a co11cussion with symptoms

consistent with Post Concussion Syndrom.e and Post Ti·auinatic Headaches.
    Case
    \.   1:21-cv-02170-ACR            Document 93-15           Filed 05/26/25        Page 20 of 34

• Pilge 3
  July 12, 2021
  Re: M~tropoUtan Police Officer Jeffl•ey Smith
  D/1: ,January 6, :2021


                  If I can be of at1y furtbet assistance, please feel free to co11ta.ct tne.



  Patrick j heehan, M.D.
   Cel'tified in Psychiatry by the
  American Board of. Psychiatry
  .aud Neui-ology

  PJS:je
Case 1:21-cv-02170-ACR               Document 93-15      Filed 05/26/25    Page 21 of 34


                      PATRICKJ. SHEEHAN, M.D. (March 10, 2022)

    ~'---------~-------------.-------------,
NAME OF PARTY                               DATE OF           LOCATION
                                   DEPOSITION/TESTIMONY
-Re-: Tamfr-A]T_________________   AUgusn6,2021 - ---- - -- - Attorney Bender's
Attorney Bruce Bender              Deposition                 Rockville Office via
Opposing Counsel:                                             Zoom/Remote
Attorney Eric Burns
Attorney Dov Szego


 Re: Norman Pulliam                March 10, 2020               Dr. Sheehan' s
 Attorney Julie Merman             Deposition                   Laurel, MD Office
 Opposing Counsel:
 Attorney Hauptmann


 Re: Anthony Austin                January 22, 2019             Dr. Sheehan's
 Attorney Benjamin                 Deposition                   Laurel, MD Office
 Boscolo
 Opposing Counsel:
 Attorney David Godwin
 Re: Frederick Baumann             July 15, 2019                Dr. Sheehan' s
 Attorney Debora Fajer-            Deposition                   Laurel, MD Office
 Smith


 Re: Dina Ruano-Parades            March 23, 2018               Dr. Sheehan's
 Attorney Alyse Prawde             Deposition                   Laurel, MD Office
 Re: Mahmonir Niakan               April3,2018                  Dr. Sheehan's
 Attorney Bruce Bender             Deposition                   Laurel, MD Office


 Re: Wiley Brown                   March 8, 2017                Dr. Sheehan's
 Attorney George                   Deposition                   Laurel, MD Office
 Patterson
 Re: Shirley Williams              May 16, 2017                 Administrative Law
 Attorney Bruce Bender             Testimony                    Hearing, Prince George's
                                                                County, MD
 Re: Aeisha Haynes                 November 6, 2017             Administrative Law
 Attorney Janelle Ryan-            Testimony                    Hearing, Prince George's
 Colbert                                                        County, Largo, MD


 Re: Andrew Covahey                November 10, 2016            Dr. Sheehan' s
 Attorney Ari Laric                Deposition                   Laurel, MD Office
 Re: Reginald Garrett              December 9, 2016             Circuit Court, Prince
                                   Testimony_                   _Qeorge'sCounty, Upper
                                                                Marlboro, MD
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                    PATRICK J. SHEEHAN, M.D. (March 10, 2022)


NAME OF-PARTY                     --DATE OF ------------~--------•-LOCATION--~------------------
                             DEPOSITION/TESTIMONY
Re: David Colburn            February 20, 2015                   Dr. Sheehan's
Attorney Julie D. Murray     Deposition                          Laurel, MD Office
                                                                    I
Re: Noelle W. Maertens       March 17, 2015                       Dr. Sheehan' s
Attorney Leslie Gawlik       Deposition                           Laurel, MD Office
Re: Caroline Hofer           July 6, 2015                         Circuit Court, Calvert
Attorney Albert Schreyer     Deposition                           County, Prince Frederick,
                                                                  MD
Re: Suresh Da1wadi           July 17, 20"15                       Dr~ Sheehan's
Attorney Matt Fochts         Deposition                           Laurel, MD Office
Opposing Counsel:
Attorney Jessica Ayd


Re: Wrongful            March 3, 2014                             Dr. Sheehan' s
Death/Medical           Deposition                                Rockville, MD Office
Malpractice of Emmanuel
Zephirin vs Dr. Rehana
Hussain and Medstar
Southern Maryland
Hospital Center, Inc.
Attorney Bruce Bender
 Re: Wayne Vetter            September 29, 2014                   Dr. Sheehan' s
 Attorney Matthew            Deposition                           Laurel, MD Office
 Trollinger
 Re: FatouB. Ba              October 10, 2014                     Dr. Sheehan' s
 Attorney Anthony            Deposition                           Laurel, MD Office
 Zaccagnini
 Re: Nettie Unangst          October 23, 2014                     Dr. Sheehan' s
 Attorney Michelle Mtimet    Deposition                           Laurel, MD Office
 Re: Felicia Royal           November 21, 2014                    Dr. Sheehan' s
 Attorney Lauren Pisano      Deposition                           Laurel, MD Office
 Re: Maria Clark-Davis       December 11, 2014                    Dr. Sheehan' s
 Attorney Shawn Smith        Deposition                           Laurel, MD Office
 Attorney Tim Driscoll
 Re: Dennis Barger           April 3, 2013                        Dr. Sheehan's
 Attorney Michael J. Olley   Deposition                           Laurel, MD Office




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Case 1:21-cv-02170-ACR        Document 93-15   Filed 05/26/25    Page 23 of 34


Page 3 of 3

                 PATRICK J. SHEEHAN, M.D. (March 10, 2022)


-NAME OF PARTY----- -     -- --------- --DATE OF LOCATION--                 ----   -~--




                          DEPOSITION/TESTIMONY
Re: Joyce Dogbey          August 23, 2013            Circuit Court, Prince
Attorney Bruce Bender     Deposition                 George's County, Upper
                                                     Marlboro, MD
Re: Zhane Heard           August 28, 2013            NIA
Attorney Matt Bryant      Testimony


Re: Donna Knight            January 12, 2012         Dr. Sheehan's
Attorney Mark Miller      . Deposition               Laurel, MD Office
Re: Jason C. Thomas        May 24, 2012              Dr. Sheehan's
Attorney Burt Kahn         Deposition                Laurel, MD Office
Re: Stephon Green          October 24, 2012          Circuit Court, Prince
Attorney Richard W.        Deposition                George's County, Upper
Galiher, Jr.                                         Marlboro, MD


Re: Vanessa Springer       January 14, 2011          Dr. Sheehan's
Attorney Puja Gupta        Deposition                Laurel, MD Office
Re: John Floyd             January 20, 2011          Dr. Sheehan' s
Attorney Ari Laric         Deposition                Laurel, MD Office
Re: Carol Gordon           January 27, 2011          Dr. Sheehan's
Attorney William Inman     Deposition                Laurel, MD Office
Re: Fariba Waldrop         March 31, 2011             Attorney Smithey' s
Attorney Joyce Smithey     Deposition                 Greenbelt Office
Re: Lanice Beasley         August 18, 2011           Dr. Sheehan's
Attorney Martin            Deposition                Laurel, MD Office
Stanshine
 Re: Angela Arrich-        September 8, 2011          Dr. Sheehan's
 Maselas                   Deposition                 Laurel, MD Office
 Attorney Lauren Pisano
 Re: Christine Hajek       November 23, 2011          Dr. Sheehan's
 Attorney Puja Gupta       Testimony                  Laurel, MD Office


 Re: Joyce Dogbey          October 11, 2010           Circuit Court, Prince
 Attorney Bruce Bender     Deposition                 George's County, Upper
                                                      Marlboro, MD



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   Case 1:21-cv-02170-ACR                          Document 93-15                  Filed 05/26/25               Page 24 of 34




                                             CURRICULUM VITAE (2018)




ADDRESS:                       4720 Jasmine Drive                                              73 50 Van Dusen Road
                               Rockville, Maryland 20853                                       Suite 240
                               301 .. 929-1986                                                 Laurel, MD 20707
                                                                                               301-776--5753


DATE OF BIRTH: January 15, 1942                                .HEALTH:              Excellent

HEIGHT:                        6' l"                           ,VEIGHT:              205 pounds

S.S.N.:                        XXX-XX-XXXX


LI CENSURE:

Maryland, July 1, 1972, License No .. D0014088

Certified in Psychiatry by the American Board of Psychiatry and Neurology, January 1976


TRAINING:

Columbia College, New York, NY _________ .,. ...._ __________ ........._______________ .._______~---AB. June 1965
Upstate Medical Center, Syracuse1 NY ..,......___________ .. _______________...........~------------..... M.D. June 1970

Residency in Adult Psychiatry, Upstate Medical Center, Syracuse, NY ____ ............... 1970.. 1972

Third Year of Residency at Walter Reed Arrny Medical Center (WRAMC),
 Washington, D.C. --~.... __________ ,. ______________ ,.._,.. __________ ............__________ ..... _........ _______ 1972-1973

Diplomat ofNational Board of Medical Examiners, Certificate No. 111408------July 1, 1971


MILITARY SERVICE:

June 1969 - August 1969 -------------.....-----------·------- Medical Clerk at Fitzsimmons Anny
                                                              Hospital, Denver, CO

July 1972 -July 1973 ......._________ .........._________ _.. .... _______ Third year of Psychiatric Residency at
---------------------- ·------~-------------- --------- ---------- WRAMC
    Case 1:21-cv-02170-ACR                                      Document 93-15          Filed 05/26/25          Page 25 of 34


Patrick J. Sheehan, M.D.                                                 -2-



!uly 1973 - July 197 5 .......... -........... ~_ .. _____ .................... ____ .. ___ Two years military obligation at the
                                                              ________________Pentagon a,td_WRAMC ___ _


WORK EXPERIENCE:

1970 - 1972------------------------------ Part-tirp.e employment at St. Joseph;s Hospital. Did
       psychiatric work-ups and did work ups for all methadone patients at St. Joseph's
       Methadone Clinic.

1972 -1973-----------------------------                               Consultant to Drug and Alcohol Unit at Walter Reed
       during residency training.

June 1973 - 1974          H            Psychiatrist for the Pentagon and consulting psychiatrist
                              ....................... _.. .. ______




       to Ft. Meyer Mental Health Center; consulting psychiatrist to Drug and Alcohol Abuse
       Program, Ft. Meyer.

June 1974- 1975 ...... .._ ..............................__ Psychiatrist for Anny Physical Disability Review
      Council, WRAMC. Reviewed all psychiatric disability cases for the Anny; psychiatric
      consultant for Commanding General, U.S. Army Physical Disability Agency. Rewrote
      Anny Regulations 63 5 - 40, Psychotic Section on Disability Ratings published in April
       1975. Supervisor for Psychiatric Resident at Walter Reed.

August 1972 - October 1976---------- Part-time psychiatric consultant to Prince George's
      Emergency Psychiatric Service.

 1972 = 197 5----------............... ____________                   Part-time private practice.

 1975 - Present•*_............ __________ .. ________                 Full-time private practice.

 1975 -1979 .._. ...._____.____________________                       Supervisor, Department of Psychiatry, Prince George's
        General Hospital.

 Chainnan, CT Task Force, Greater Laurel Beltsville Hospital, 1982, 1983.

 Chai1man, Medical Staff Fundraiser, 1982, Greater Laurel Beltsville Fundraiser went over
 $180_,000.

 Chainnan, Department of Psychiatry at Greater Laurel BeltsviUe Hospital, 1982 -1984, re-
 elected Chairman, 1984 - 1986.

 Medical Member of Transition Health Task Force for County Executive, Parris Glendening,
 1983, 1986.

 Legislative Representative for Med Chi, 1983 - 1993, for 2ist District.
    Case 1:21-cv-02170-ACR           Document 93-15         Filed 05/26/25     Page 26 of 34


 Patrick J, Sheehan, M.D,                     -3-



    ~hief Consultant for Psychiatry Specialty, Prince George's County Medical Society, 1985, 1986,
___ 1987,J988,J989~ 199_0, J99J;J922~J993, 199-4_. ~---- _ -- --~~-~--

 Peer Review Consultant, Prince George's Foundation, 1983 - 1984.

 Peer Review Consultant, Delmarva Foundation, 1985 -1994.

 Elected member of the Executive Committee of the Suburban Maryland Psychiatric Society,
 1987, 1988.

 Member of Prince George's B1ue Ribbon Commission on Health, 1992, 1993, 1994.

 •Member of Medical Advisory Committee for County Executive Parris Glendening, 1992, 1993,
  1994.

  Member of Med Chi Drug Committee.

  Chainnan of Ethics Committee, Laurel Regional Hospital, 1992, 1993, 1994.

  Physician member of Health Transition Task Force for Governor Glendening, 1994 - 1995.

  Human Services Subcommittee for Prince George's County, 1991.
                                        .            .
  Psychiatric Consultant for National Security Agency.

  Consultant to American Psychiatric Associations' Joint Commission on Government Affairs,
  1996, 1997.


  PROFESSIONAL ORGANIZATIONS:

  American Psychiatric Association

  Washington Branch of American Psychiatric Association

  Medical & Chirurgical Faculty of Maryland

  Prince George's County (Maryland) Medical Society


  AWARDS:

  United Press International - Honorable Mention-All Ivy Football Team, 1964.
  Case 1:21-cv-02170-ACR            Document 93-15         Filed 05/26/25      Page 27 of 34


Patrick J. Sheehan, M.D,                     -4-

 Prize Room Award from the Dean of Columbia College for outstanding contributions to
,Columbia College, 1964.

Columbia College Class of 1913 Trophy for highest scholastic average on varsity football team,
1965.

Colwnbia College Robenz Scholarship Recipient, annual scholarship awarded to the two
outstanding pre ..med Seniors, SY 1964~65.

Army Commendation Medal, 197 5. •

From the Board of Trustees of Greater Laurel Beltsville Hospital, 1983, "For the acquisition of
the CT Scanner for the man who made it happen." 1983.

Laurel Medical Society President's Award, 1985, "For meritorious service to the Laurel
Community and the Greater Laurel Beltsville Hospital."

Prince George's County Medical Society Award, 1987.

Prince George's County Medical Society Award 1 1988, "In recognition and appreciation of his
dedication and tireless efforts to effectively promote the goals and objectives of the Prince
George~s County Medical Society's Political Action Committee,"

An award from the Senate of Maryland for "Outstanding legislative contributions on behalf of
the Prince George's County Medical Society.'' President of the Senate, Senator Thomas V. Mike
Miller, Jr., presented the award at the Societf s annual banquet to honor installation of officers,
1990.

Prince George's County Medical Society award, 1990, "In recognition and appreciation of Dr.
Sheehan's tireless and enthusiastic effo1is in working to improve the effectiveness of the Prince
George's Medical Societis Political Action Committee."

Award from Prince George~s County Medical Society, presented to Patrick J. Sheehan, M.D.,
member of the Political Action Committee, 1991, "In recognition and appreciation of your
outstanding leadership in working to strengthen and improve effectiveness of the Society's
Political Action Committee."

Prince George's County Hospice Award, December, 1991, "Special Thanks for fundraising
efforts."

Suburban Psychiatric Society Award, March,. 1991, "Proudly recognizes Patrick Sheehan, M.D.,
for Distinguished Service to the Psychiatric Community."

Prince George's County Medical Society Award, January, 1992, "In recognition ofhis legislative
efforts on behalf of Prince George's County Medical Society."
      Case 1:21-cv-02170-ACR           Document 93-15        Filed 05/26/25      Page 28 of 34


   Patrick J. Sheehan, M.D.                    -5-

   Laure1 Medical Society Ambassador Award, Annual Dinner, March 28, 1993.

_~--Award from Prince George's County.Medical Society, January, -1994~

   Award from Dimensions Healthcare System, Laurel Regional Hospital, and President of Medical
   & Dental Staff, April, 1999, "For your energetic, selfless devotion and support to your patients,
   colleagues, and :friends as well as over two decades of clinical excellence, leadership, and
   outstanding physician advocacy of the Laurel Regional Hospital Medical and Dental Staff.
   Chairperson Nominating Committee Medical and Dental Staff 1978 -1999. Chairperson,
   Department of Psychiatry and Ethics Committee."




    CV:je March 2019
Case 1:21-cv-02170-ACR                    Document 93-15    Filed 05/26/25        Page 29 of 34


                               PATRICK J. SHEEHAN, M.D.
                            73SQ VAN DUSEN ROAD, SUITE 240
                                   LAUREL, MD 20707
                    TELEPHONE: 301-776~5753; FACSIMILE: 301-317-9410
                    DR. SHEEHAN'S FEE SCHEDULE FOR LEGAL CASES (9/23/19}


         In legal cases, sometimes I am asked to provide in.formation and/or testimo11y about the
patient's medical condition. and the treatment I provided. At a minimum~ these medical services
require my time to· review medical records, prepare for the deposition or court appearance, meet
with the Attorney; and testify. I do not provide these services on a contingency basis. The
patient/claimant/Attomey is responsible to pay me for my medical services according to the fee
schedule printed below,

        Payment for my medical reports and copies of medical records is due before transmission
to vou. Payment for my meeting/discussion with the Attorney~ deposition preparation} my
deposition/court appearance, and testimony is due. 21 business days before meeting/discussion or
testimony, whicheyer is earlier, or at an earlier date at my discretion ..

         I know that comi dockets are subject to last-minute changes. I will keep 100% of my fee
for review of any medical records if my testhno.ny is canceled or rescheduled 15 days or less from
the date of the scheduled deposition or court appearance. If my testimony is ca11celed or
rescheduled less than 15 days prior to the deposition or court appearance, I will retain 100% of
the preparation, deposition or court appearance, and testimony fee, due to the disruption of my
medkal practice.

 EVALUATION                                                       $480 AN HOUR

 REVIEW OF MEDICAL RECORDS                                        $480AN HOUR

 PREPARATION FOR TRIAL/DEPOSITION                                 $480ANHOUR

 REVIEW OF NEW MEDICAL RECORDS RECEIVED
 AFTER PREPARA Tl ON FOR DEPOSITION                               $480ANHOUR

 ATTORNEY-PHYSICIAN DISCUSSION                                    $480AN HOUR

 DEPOSITION IN PHYSICIAN'S OR ATTORNEY'S OFFICE                   $750 AN HOUR (or any part thereof)
    VIDEO DEPOSITION IN PHYSICIAN;S OFFICE                        $750 AN HOUR (or any part thereat)

 TRAVEL TIME TO COURT FOR TESTIMONY
 OR TO ATTORNEY'S OFFICE FOR A DEPOSITION
 (FROM DR. SHEEHAN'S OFFICE TO LOCATION
 AND RETURNING FROM LOCATION TO
 DR. SHEEHAN'S OFFICE)                                            $480AN HOUR

 COURT APPEARANCE
 -- MORNING OR AFTERNOON O.R A FRACTION                           $5,000
 ~- FULLDAY                                                       $10,000

 PHOTOCOPYING OF OFFICE RECORDS                                   At Maryland all-0wnble rate




 Office procedures"/fee schedule legal cases 9/23/19
Case 1:21-cv-02170-ACR            Document 93-15        Filed 05/26/25       Page 30 of 34




                                CURRICULUM VITAE (2018)


                               PATRICK J. SHEEUAN, M.D~


ADDRESS:             4720 Jasmine Dnve                            7350,Van Dusen Road.
                     .Rockville;, Maryland 20853                  Suite.240
                     301~929-1986                                 Laurel, MD 20707
                                                                  301-776~5753


DATE OF BIRTH: January 15, 1942             'HEALTH:      Excellent

HEIGHT:               6' l"               • WEIGHT:        205 pounds

S.S.N.:             • OJ l-32;.0098·


LICENSURE:

Maryland, July 1, 1972,. License No .. D0014088

Certified .in Psychiatry by the American Board of Psychiatry and Neurology, January 1976


TRAINING:

Columbia College,. New Y orlc, NY--------·-----------.............. A.B. June 1965
Upstate Medical Center, Syracuse,. NY----                           M.D, June 1970

Residency mAdult Psychiatry, Upstate Medical C~nter, Syracuse, NY ---1970-1972

Third Year' of Re~idency at Walter Reed. Army Medical Center (WRAMC),
 Washington,.D.C, ----..- - - - - - - - - - - - - - - 1 9 7 2 - 1 9 7 3

Diplomat ofNationalBoard ofMedical Examiners, Certificate No.. 111408 ....--July 1, 1971


MILITARY SERVICE:

June 1969 - August 1969-------------------- Medical Clerk at Fitzsimmons-Anny.
                                           .Hospital, Denver, CO

July 1972-July 1973 - -                       .--------Third year ofPsychiatrfo.Residency at
-----·------------              _______ . ;.__ .,.__ ,WRAMC
 Case 1:21-cv-02170-ACR                Document 93-15          Filed 05/26/25    Page 31 of 34



 Patrick J, Sheehan, M,D.                        -2-



___ July 19_73 =J111yJ_27_~ _------- _-------Two years military obligation at the
                                              -Pentagon and WR.AMC


 WORK EXPERIENCE:

 1970 - 1972-------------- Part~time employment at St Joseph's Hospital. Did
        psychiatric work-ups and· did work ups for all methadone patients at St. Joseph's
        Methadone Clinic.

 1972- 1973-----..- - - - - -............._   Consultant to Drug and Alcohol Unit at Walter Reed
       during residency training.

 -June 1973 ...;.1974---------- Psychiatrist for the Pentagon and.consulting psychiatrist
         to.Ft. Meyer Mental HealthCenter;. consulting psychiatrist to Drug and AlcQhol Abuse
         Program, Ft. Meyer.

 June I 974 - 1975- - - - - - - Psychiatrist for Artny Physical Disability Review
         Council, WRAMC. Reviewed all psychiatric disability cases for the Anny; psychiatric
         consultant for Commanding. General, U.S. Anny Physical Disability Agency·. ~ewrote
         Army Regulations 635 - 40, Psychotic· Section on Disability Ratings published in April
         1975. -Supervisor for Psychiatric Resident at Walter Reed..

 August 1972 - October 1976--- Part-time psychiatric consultant to Prlnce George"'s
       Emergency Psychiatric Service.

 1972-1975-----------..--------               ~art-time private pra'?tice.

  1975 - Present------                        Full-time private practice.

  19TI-1~9-------                             Supervisor> Department of Psychiatry, Prince George's
    General Hospital.

 Chairman, CT Task Force, Greater Laurel B~ltsville Hospital, 1982, 1983.

 Chairman, Medical Staff Fundrais~, 1982,. Greater Laurel Beltsville Fundraiser went over
 $180,000.

 Chairman, Department of Psychiatry at Greater Laurel Beltsville.Ho.spital1 1982-1984, re-
 elected Chairtmu~, 1984 - 1986.

  Medical Member.of Transition Health Task Force for County-Executive, Parris Glendening,
  1983, 1986 .

 .Legislative Representative for Med Chi, 1983 -·1993;for 21 st District_
    Case 1:21-cv-02170-ACR                Document 93-15           Filed 05/26/25         Page 32 of 34



    Patrick .J. Sheehan, M.D,                       -3-



________Chi~fQ:,t:1Sul~!_f<>tf~y9_h!atry_§pe~_itlty,_ !'tin~~~qeorge·'s (;ounty Medical Sodety, _J.985,) 986,
        1987, 1988, 1989, 1990, 1991,.1992, 1993, 1994. ----- ------ --- -          - ------ -- - ~~-- - -- -

    Peer Review Consultant, Prince George's Foundation, 1983 - 1984.

    Peer Review Consultant, Delmarva Foundation, 1985-1994.

    Elected member of.theExe·cutive Committee of the Suburban.Maryland Psychiatric Society~
     1987, 1988.

     Member of Prince George~s Blue Ribbon-Commission on Heal~ 19-92, 1993, I994.,

     Member of Medical Advisory Committee for County Executive Panis Glendening, 1992, 199~~
     1994.. -

     Member of Med Chi Drug Committee~

     Chairman of Ethics Committee, Laurel Regional Hospital, 1992, 1993, 1994.

     Physi~an·member.ofHealth Transition Task Force for GovemorGlendening, 1994-1995.

     Human Services Subcommittee for Prince George'·s County,.1991.

     Psychiatric Consultant for National Security Agency.

     Consultant to-American Psychiatric Associations' Joint Commission on· Government Affairs,
     1996, 1997.


     PROFESSIONAL O~GANIZATIONS:

     American Psychiatric Association

     Washington Branch Qf American Psychiatric Association

     Medical & Chirurgical Faculty ofMaryland

     Prince George's· County (Maryland) Medical Society


     AWARDS:

     United Press· International - Honorable· Mention ..... All Ivy ·Football Team, 1964.
 Case 1:21-cv-02170-ACR             Document 93-15           Filed 05/26/25       Page 33 of 34



 Patrick J .. Sheehan, M.D.                    -4-

   Prize Room Award· from t11e Dean of Columbia College for outstanding ·contributions to
__ Columbia. C◊U~ge, J 9_6~. __ _

 Columbia College Ciass· ofl913 Trophy for highest .scholastic average on varsity football team,
 1965.

 Columbia College.Robenz Scholarship Recipient,-annual scholarship awarded to the two
 outstanding pre..med Seniors,. SY 1964-:65.

 Anny Commendation Medal, 1975. •

 From the Board ofTrustees of Greater·LaurelBeltsville Hospital, 1983, "For the acquisition of
 the CT· Scanner for. the man. who made it happen." 1983.

 Laurel Medical Society President's Award, 1985; "For meritorious service to the Laurel
 Community and the· Greater Laurel Beltsville Hospital."

  Prince George's· County Medical Society Award;, 1987.

  Prince George's County Medical Society Award, 1988, '~In recognition and appreciation of his
  dedication and tireless efforts·to effectively promote the goals and.objectives. of the Prince
  George's County Medical Society's PoliticafAction Committee."

  An award from the Senate of Maryland for "Outstanding legislative contributions on behalf of
  the Prlnce··George's County Medical Society~'' President of the Senate, Senator Thomas V. Mike
  Miller, Jr., presented the award at the Society,s annual banquet to honor installation of officers,
  1990.

  Prince George's County Medical Society award, 1990,: "In recognition and appreciation of Dr.
  Sheehants·tireless and enthusiastic efforts in working.to imp.rove the effectiveness of the Prince
  George's Medical Sod.ety's Political Action Committee."

 .Award from Prince George's County Medical Society, presented to Patrick J. Sheehan, M.D.,
  member ofthe Political Action Committee, 1991, "fu recognition and appreciation of your
  outstan~g leadership in working to strengthen and- improve effectiveness ·ofthe Society's
  Political Action Committee."

  Prince George's County Hospice Award, December, 1991) "Special Thanks for fundraising
  efforts.';

  Suburban Psychiatric·Society Award, March, 1991; "Proudly recognizes Patrick.Sheehan, M.D.,
  for Distinguished Service to the Psychiatric Community.."

  Prince George's County Medical Society Award, January, 1992, "In recognition ofhis'legislative
  efforts on behalfof Prince George's County Medical Society."
Case 1:21-cv-02170-ACR            Document 93-15                 Filed 05/26/25   Page 34 of 34



Patrick J. Sheehan, M.D.                   ' -5-


Laurel Medical SQciety Ambassador Award, Annual Dinner, March28, 1993.
                                         - -- ---------------~-~------

Award·from Prince George's County Medical Society, January, 1994.

Award: from Dimensions Healthcare System, Laurel Regional H~spttal, and President of Medical
& Dental Staff, April, 1999, "For your energetic, selfless devotion and support to your patients,
colleagues, and friends as well as over two decades of clinical ~xcellence, leadership; and
outstanding physician advocacy of the Laurel Regional Hospital Medical and Dental Staff.
Chairperson Nominating Committee Medic?J. and Dental Staff 1978 -1999. Chairperso~
:Department of Psychiatry and Ethics Committee/'




CV:je March 2019
